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                                            1:18-cr-00309-LMM-LTW
                                                  USA v. Detling
                                           Honorable Leigh Martin May


                              Minute Sheet for proceedings held In Open Court on 10/19/2021.


              TIME COURT COMMENCED: 11:05 A.M.
                                                              COURT REPORTER: Montrell Vann
              TIME COURT CONCLUDED: 1:44 P.M.
                                                              CSO/DUSM: 1 CSO
              TIME IN COURT: 2:39
                                                              DEPUTY CLERK: Brittany Poley
              OFFICE LOCATION: Atlanta


         DEFENDANT(S):        [1] Chalmer Detling, II NOT Present at proceedings
         ATTORNEY(S)          Suzanne Hashimi representing Chalmer Detling
         PRESENT:             Samir Kaushal representing USA
                              Alex Sistla representing USA
                              Caitlyn Wade representing Chalmer Detling
         PROCEEDING
                              Pretrial Conference
         CATEGORY:

         MOTIONS RULED ON: DFT#1-[107] Motion in Limine to Exclude Firm Financing Loan DENIED
                           DFT#1-[109] Motion in Limine to Exclude 404(b) Evidence GRANTED IN
                           PART & DENIED IN PART & DEFERRED IN PART
                           DFT#1-[114] Motion in Limine to Admit Summary Chart GRANTED IN
                           PART & DEFERRED IN PART

         MINUTE TEXT:         Regarding defense counsel's proposed questions concerning the defendant's
                              daughter's medical condition, the Court will allow questions 1, 2, and 4.
                              Question 7 is allowed with the Court's modification.
                              The Court GRANTED IN PART & DEFERRED IN PART the
                              Government’s Motion in Limine to Admit Summary Chart [114]. The Court
                              will allow evidence as to the uncharged advances. The Court deferred its
                              ruling on the admission of the Government's summary chart until trial.
                              Regarding the Defendant’s Motion in Limine to Exclude 404(b) Evidence
                              [114] and the Government's Notice to Introduce 404(b) Evidence [125], the
                              Government withdrew item 2 regarding Mr. Rahman. The Court will not allow
                              evidence regarding the altered insurance coverage issue. The Court will allow
                              evidence of Defendant's failure to inform clients about actions taken as it
                              pertains to Mr. Ochoa but will exclude evidence regarding the settled case
                              involving Mr. Lake. The Court will allow the overdraft notices related to the
                              Georgia Bar investigation.
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                           Regarding the Defendant’s Motion in Limine to Exclude Prior Settlements
                           [106] and the Government’s motion to exclude evidence and testimony
                           regarding attempts at repayment (part of the Government’s Consolidated
                           Motions in Limine [110]), the Court deferred its ruling. Defense counsel
                           requested time to review before the expected evidence comes in on Monday.
                           The parties will notify the Court if there is an issue.
                           Regarding Defendant’s Motion in Limine to Exclude Firm Financing Loan
                           from Capital Financing [107], the Court observed that the Government
                           agreed to parts of the motion in its Response. The Court will not exclude
                           evidence regarding the $80k loans from Capital Financing.
                           Defense counsel is directed to provide a limiting jury instruction regarding
                           404(b) evidence. Defense will exchange with Government's counsel and
                           provide by Friday, October 22nd.
                           Defendant’s deadline for providing exhibit and witness lists is Monday,
                           October25th.
                           The Court will have a brief hearing to address the existence of a plea
                           agreement with the defendant on Thursday, October 22nd at 9:15 a.m.
                           Regarding the parties' proposed voir dire questions, Defendant withdrew the
                           objection to Government's question 22. The Court will allow 22 but 23 will
                           only be asked as a follow-up if applicable. Government's questions 24-26 are
                           repetitive of the Court's questions and are not allowed. Defense counsel were
                           instructed to revise questions 2, 4, 12, 18, 20. Defendant’s question 31 is
                           repetitive of the Court’s question and is not allowed. The Court excluded
                           Defendant’s question 34. Any COVID-related questions will be asked by the
                           Court. If defense counsel wants to supplement the Court's questions
                           regarding COVID, they are directed to exchange the proposed questions with
                           Government's counsel and provide to the Court by noon on Wednesday,
                           October 20th.
                           As for more details regarding the Court’s rulings on evidentiary issues, the
                           parties are directed to the transcript.
         HEARING STATUS:   Hearing Concluded




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